Filed 02/16/16                                         Case 15-14228                                                    Doc 63



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            Chapter 13 Trustee
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        6                             UNITED STATES BANKRUPTCY COURT
                                       EASTERN DISTRICT OF CALIFORNIA
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        9                                                             )   Case No.: 15-14228-B-13F
            In re:                                                    )
       10                                                             )   CHAPTER 13
            Oscar Gutierrez                                           )
       11                                                             )   DC NO. MHM-2
                            DEBTOR                                    )
       12                                                             )   NOTICE OF CHAPTER 13 TRUSTEE'S
                                                                      )   OBJECTION TO CONFIRMATION OF
       13                                                             )   CHAPTER 13 PLAN
                                                                      )
       14                                                             )
                                                                      )   DATE: March 10, 2016
       15                                                             )   TIME: 1:30 PM
                                                                      )   PLACE: U.S. Courthouse
       16                                                             )          Dept. B, Courtroom 13
                                                                      )          5th Floor
       17                                                             )          2500 Tulare Street
                                                                      )          Fresno, Ca 93721
       18                                                             )   JUDGE: Hon. Rene Lastreto II

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                     MICHAEL H. MEYER, Chapter 13 Trustee, has filed papers with the court objecting to
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            confirmation of your Chapter 13 Plan.
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                     Your rights may be affected. You should read these papers carefully and discuss them
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            with your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you
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            may wish to consult one.)
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                     A hearing on the objection and confirmation of the plan will be held on March 10, 2016, at the
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            time and location set forth above.
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                     Pursuant to Local rule, no written response to the objection is necessary. Any opposition to the
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            objection shall be heard at the hearing.
       28                                                                 Respectfully submitted,
                                                                          /s/ Michael H. Meyer
            Date: 2-16-16                                                 Michael H. Meyer, Chapter 13 Trustee


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